        Case
         Case2:08-cr-00332-JCM-GWF  Document 484-2
              2:08-cr-00332-JCM-GWF Document 556 Filed
                                                   Filed 04/30/15  Page11ofof11
                                                         04/10/13 Page




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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                         )
                                                     )
 9                        Plaintiff,                 )
                                                     ) 2:08-CR-332-JCM-(GWF)
10          v.                                       )
                                                     )
11 DWIGHT RAMON POLLARD,                             )
                                                     )
12                        Defendant.                 )
13

14                                      ORDER OF FORFEITURE

15          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover

16 from DWIGHT RAMON POLLARD a criminal forfeiture money judgment in the amount of

17 $4,128,554.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18,

18 United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

19 United States Code, Section 982(a)(2)(A); and Title 21, United States Code, Section 853(p).

20                 April___
            DATED this   30,day
                             2015.
                                of April, 2013.

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                                                  UNITED STATES DISTRICT JUDGE
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